Case 2:19-cv-14143-RLR Document 40 Entered on FLSD Docket 07/08/2019 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   FORT PIERCE DIVISION

  JANET FOISIE,

           Plaintiff,

  v.                                                                     Case No.: 2:19-cv-14143

  PATRICIA A. BISS, WORCESTER
  POLYTECHNIC INSTITUTE, AND
  THE UNKNOWN REPRESENTATIVE
  OF THE ESTATE OF ROBERT A. FOISIE,

        Defendants.
  ________________________________________/

                        PLAINTIFF’S NOTICE OF MEDIATOR SELECTION
                              AND SCHEDULING OF MEDIATION

           COMES NOW the Plaintiff, Janet Foisie, by and through her undersigned counsel, and

  pursuant to the Court’s June 10, 2019, Scheduling Order and Order Referring Case to Mediation

  (Doc. No. 31) files this her Notice of Mediator Selection and Scheduling of Mediation.

           The parties have selected Charles W. Ross as mediator. He is located at1535 Dr. M.L. King

  Jr. St. North, St. Petersburg, FL 33704. The parties plan to mediate at his office on February 4, 2020,

  beginning at 9:30 a.m.




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Case 2:19-cv-14143-RLR Document 40 Entered on FLSD Docket 07/08/2019 Page 2 of 2



                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via
  E-mail to Noel R. Boeke, Esq., Holland & Knight, LLP, 100 N. Tampa Street, Suite 4100, Tampa,
  FL 33602 and Lee P. Teichner, Esq., Holland & Knight, LLP, 701 Brickell Avenue, Miami, FL
  33131 noel.boeke@hklaw.com, and Roberto M. Braceras, Jennifer L. Chunias, Samuel J. Gamer and
  Joshua J. Bone, Goodwin Procter, LLP, 100 Northern Avenue, Boston, Massachusetts 02210
  Rbraceras@goodwinlaw.com Jchunias@goodwinlaw.com Sgamer@goodwinlaw.com
  Jbone@goodwinlaw.com and has been electronically filed with the Clerk of Courts using the ECF
  system which will send an E-mail to all counsel of record this 8th day of July, 2019.


                                                       /s/ W. Andrew Clayton, Jr.
                                                    W. ANDREW CLAYTON, JR., ESQ.
                                                    Florida Bar No. 0739464
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